                                   Case 24-12283                    Doc 1     Filed 10/08/24            Page 1 of 60

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                            District of Delaware
                                       (State)
 Case number (If known):                                    Chapter 7
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                          Innovate Labs LLC


 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing
      business as names




 3.   Debtor’s federal Employer                  4 7 - 4 6 0             6 8 5 7
      Identification Number (EIN)



 4.   Debtor’s address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                          of business

                                            4845 Pearl East Circle
                                            Number         Street                                         Number           Street

                                            Suite 118 PBM 318052
                                                                                                          P.O. Box

                                            Boulder                           CO        80301
                                            City                              State     ZIP Code          City                         State       ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                            Boulder County
                                            County
                                                                                                          Number      Street




                                                                                                          City                         State       ZIP Code




 5.   Debtor’ s website (URL)                getlantern.org




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                                   Case 24-12283            Doc 1       Filed 10/08/24              Page 2 of 60

Debtor        Innovate Labs LLC                                                             Case number (if known)
              Name


                                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                          Other. Specify:


                                       A. Check one:
 7.   Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          Railroad (as defined in 11 U.S.C. § 101(44))

                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                       B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5    1     3    2

 8.   Under which chapter of the       Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?                       Chapter 9

                                           Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                           Chapter 12

 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?             Yes. District                               When                          Case number
      If more than 2 cases, attach a                                                          MM / DD / YYYY
      separate list.                             District                              When                          Case number
                                                                                              MM / DD / YYYY

 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                       Case 24-12283            Doc 1          Filed 10/08/24           Page 3 of 60

Debtor     Innovate Labs LLC                                                                   Case number (if known)
              Name


 10. Are any bankruptcy cases                  No
     pending or being filed by a
     business partner or an                    Yes. Debtor                                                              Relationship
     affiliate of the debtor?                        District                                                           When
     List all cases. If more than 1,                                                                                                   MM / DD / YYYY
     attach a separate list.                         Case number, if known



 11. Why is the case filed in this         Check all that apply:
     district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.


                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have               No
     possession of any real                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                         Other



                                                    Where is the property?
                                                                                 Number        Street




                                                                                 City                             State                ZIP Code



                                                    Is the property insured?
                                                         No
                                                         Yes. Insurance agency


                                                                Contact name

                                                                Phone



             Statistical and administrative information


 13. Debtor’s estimation of                Check one:
     available funds
                                               Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                               1-49                                1,000-5,000                                   25,001-50,000
 14. Estimated number of
     creditors                                 50-99                               5,001-10,000                                  50,001-100,000
                                               100-199                             10,001-25,000                                 More than 100,000
                                               200-999

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
                                 Case 24-12283               Doc 1           Filed 10/08/24           Page 4 of 60

Debtor    Innovate Labs LLC                                                                    Case number (if known)
            Name


                                             $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
 15. Estimated assets
                                             $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                             $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion


                                             $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
 16. Estimated liabilities
                                             $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                             $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of            petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on     10/08/2024
                                                            MM / DD / YYYY

                                         X /s/ Adam Fisk                                                   Adam Fisk
                                            Signature of authorized representative of debtor              Printed name


                                            Title CEO and Director




 18. Signature of attorney               X /s/ Joseph C. Barsalona II                                     Date          10/8/2024
                                             Signature of attorney for debtor                                           MM / DD / YYYY



                                             Joseph C. Barsalona II
                                             Printed name
                                             Pashman Stein Walder Hayden P.C.
                                             Firm name
                                             824 North Market Street, Suite 800
                                             Number                 Street
                                             Wilmington                                                        DE              19801
                                             City                                                              State           ZIP Code

                                             302-592-6496                                                      jbarsalona@pashmanstein.com
                                             Contact phone                                                     Email address



                                             6102                                                              DE
                                             Bar number                                                        State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
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Case 24-12283   Doc 1   Filed 10/08/24   Page 8 of 60
                                       Case 24-12283            Doc 1          Filed 10/08/24                Page 9 of 60

 Fill in this information to identify the case and this filing:


 Debtor Name     Innovate Labs LLC
 United States Bankruptcy Court for the:                             District of Delaware
                                                                                 State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration          Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is true and correct.


        Executed on         10/8/2024                         /s/ Adam Fisk
                            MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  Adam Fisk
                                                                  Printed name


                                                                  CEO and Director
                                                                  Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                     Case 24-12283                             Doc 1              Filed 10/08/24                          Page 10 of 60


  Fill in this information to identify the case:

  Debtor name          Innovate Labs LLC

  United States Bankruptcy Court for the:                                                            District of Delaware
                                                                                                                      (State)
  Case number (If known):


                                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                               12/15



Part 1:           Summary of Assets



1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                     $               0.00
           Copy line 88 from Schedule A/B .........................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                     $    1,276,277.32
           Copy line 91A from Schedule A/B .......................................................................................................................................

     1c. Total of all property:                                                                                                                                                                      $    1,276,277.32
         Copy line 92 from Schedule A/B .........................................................................................................................................




Part 2:           Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...............................................                                                      $               0.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F ........................................................................................                                     $         4,510.30

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                    + $ UNDETERMINED
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.............................................................




4. Total liabilities ............................................................................................................................................................................
                                                                                                                                                                                                     $ UNDETERMINED
     Lines 2 + 3a + 3b




  Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                                       Case 24-12283           Doc 1        Filed 10/08/24            Page 11 of 60
  Fill in this information to identify the case:

  Debtor name Innovate Labs LLC

  United States Bankruptcy Court for the:                          District of Delaware
                                                                             (State)
  Case number (If known):                                                                                                                  Check if this is an
                                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                    12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of debtor’s
                                                                                                                                      interest

2. Cash on hand:                                                                                                                  $        5,546.31

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
   3.1. Chase Bank                                                    Checking                           7386                     $       120,965.04
   3.2.                                                                                                                           $

4. Other cash equivalents (Identify all)
   4.1. Crypto currency in Bitmart accounts                                                                                       $        24,601.71
   4.2. PayPal                                                                                                                    $          0.00

5. Total of Part 1                                                                                                                    $   151,113.06
    Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.

                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit
   7.1.                                                                                                                               $
   7.2.                                                                                                                               $

  Official Form 206A/B                                     Schedule A/B: Assets — Real and Personal Property                                      page 1
                                       Case 24-12283           Doc 1          Filed 10/08/24                Page 12 of 60
Debtor           Innovate Labs LLC                                                                  Case number (if known)
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1. D&O Insurance, Mellennia, LLC                                                                                                $            5,632.34
   8.2. Traveler’s Insurance for EPLI                                                                                                $            1,114.68

9. Total of Part 2.
                                                                                                                                     $          6,747.02
   Add lines 7 through 8. Copy the total to line 81.



Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                         Current value of debtor’s
                                                                                                                                         interest
11. Accounts receivable (see Addendum A)

    11a. 90 days old or less:              $61,283.05           _            $33,497.06                  = ......                   $        27,785.99
                                    face amount                     doubtful or uncollectible accounts

    11b. Over 90 days old:                  $13,545.98          _            $13,545.98                  = ......                   $           0.00
                                    face amount                     doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                  $        27,785.99
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments

13. Does the debtor own any investments?
           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                                            Valuation method             Current value of debtor’s
                                                                                                            used for current value       interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1.                                                                                                                             $
   14.2.                                                                                                                             $




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                    % of ownership:
   15.1.                                                                                        %                                    $
   15.2.                                                                                        %                                    $


16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.                                                                                                                             $
   16.2.                                                                                                                             $



17. Total of Part 4                                                                                                                  $
    Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B                                       Schedule A/B: Assets — Real and Personal Property                                         page 2
                                      Case 24-12283            Doc 1     Filed 10/08/24             Page 13 of 60
Debtor           Innovate Labs LLC                                                           Case number (if known)
                 Name




Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.

     General description                            Date of the last     Net book value of         Valuation method used       Current value of
                                                    physical inventory   debtor's interest         for current value           debtor’s interest
                                                                         (Where available)
19. Raw materials
                                                                         $                                                 $
                                                    MM / DD / YYYY

20. Work in progress
                                                                         $                                                 $
                                                    MM / DD / YYYY

21. Finished goods, including goods held for resale
                                                                         $                                                 $
                                                    MM / DD / YYYY

22. Other inventory or supplies
                                                                         $                                                 $
                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                        $
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value                       Valuation method                        Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
        No
           Yes

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
          No. Go to Part 7.

          Yes. Fill in the information below.

     General description                                                 Net book value of         Valuation method used       Current value of debtor’s
                                                                         debtor's interest         for current value           interest
                                                                         (Where available)
28. Crops—either planted or harvested
                                                                             $                                             $

29. Farm animals Examples: Livestock, poultry, farm-raised fish

                                                                             $                                             $

30. Farm machinery and equipment (Other than titled motor vehicles)

                                                                             $                                             $

31. Farm and fishing supplies, chemicals, and feed

                                                                        $                                                  $
32. Other farming and fishing-related property not already listed in Part 6
                                                                        $                                                  $
Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                                page 3
                                      Case 24-12283                Doc 1     Filed 10/08/24             Page 14 of 60
Debtor          Innovate Labs LLC                                                             Case number (if known)
                 Name




33. Total of Part 6.                                                                                                             $
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

          No
          Yes. Is any of the debtor’s property stored at the cooperative?

                No
                Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

          No
          Yes. Book value $                     Valuation method                      Current value $

36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

          No
          Yes



Part 7:      Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.


   General description                                                        Net book value of         Valuation method         Current value of debtor’s
                                                                              debtor's interest         used for current value   interest
                                                                              (Where available)

39. Office furniture

                                                                               $                                                 $

40. Office fixtures

                                                                               $                                                 $

41. Office equipment, including all computer equipment and
    communication systems equipment and software
                                                                               $                                                 $

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1                                                                        $                                                 $
   42.2                                                                        $                                                 $
   42.3                                                                        $                                                 $

43. Total of Part 7.
                                                                                                                                 $
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
          Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
          No
          Yes
Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                page 4
                                      Case 24-12283           Doc 1       Filed 10/08/24          Page 15 of 60
Debtor           Innovate Labs LLC                                                         Case number (if known)
                 Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.


   General description                                                     Net book value of        Valuation method used   Current value of
                                                                           debtor's interest        for current value       debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


   47.1                                                                    $                                                $

   47.2                                                                    $                                                $

   47.3                                                                    $                                                $

   47.4                                                                    $                                                $


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1                                                                    $                                                $

   48.2                                                                    $                                                $

49. Aircraft and accessories

   49.1                                                                    $                                                $

   49.2                                                                    $                                                $

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

                                                                           $                                                $



51. Total of Part 8.                                                                                                        $
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
           Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
        No
           Yes




Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                            page 5
                                              Case 24-12283                        Doc 1       Filed 10/08/24         Page 16 of 60
 Debtor           Innovate Labs LLC                                                                           Case number (if known)
                  Name




Part 9:      Real property

54. Does the debtor own or lease any real property?
          No. Go to Part 10.
          Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

     Description and location of property                               Nature and extent       Net book value of      Valuation method used    Current value of
     Include street address or other description such as                of debtor’s interest    debtor's interest      for current value        debtor’s interest
     Assessor Parcel Number (APN), and type of property                 in property             (Where available)
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.
     55.1                                                                                       $                                               $

     55.2                                                                                       $                                               $

     55.3                                                                                       $                                               $

     55.4                                                                                       $                                               $

     55.5                                                                                       $                                               $

     55.6                                                                                       $                                               $


56. Total of Part 9.
                                                                                                                                                $
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
          No. Go to Part 11.
          Yes. Fill in the information below.

      General description                                                                       Net book value of      Valuation method         Current value of
                                                                                                debtor's interest      used for current value   debtor’s interest
                                                                                                (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    Copyrights to code repositories                                                              $                           Cost-based         $       1,088,247.92
61. Internet domain names and websites
    getlantern.org; getlantern.com; getlantem.org; firetweet.io; lantern.network; natty.io       $                          Market-based        $        1,583.33
62. Licenses, franchises, and royalties
                                                                                                 $                                              $

63. Customer lists, mailing lists, or other compilations
                                                                                                 $
64. Other intangibles, or intellectual property
                                                                                                 $                                              $
65. Goodwill
                                                                                                 $                                              $

66. Total of Part 10.                                                                                                                                   1,089,831.25
                                                                                                                                                    $
    Add lines 60 through 65. Copy the total to line 89.


Official Form 206A/B                                                          Schedule A/B: Assets — Real and Personal Property                              page 6
                                          Case 24-12283       Doc 1        Filed 10/08/24               Page 17 of 60
Debtor         Innovate Labs LLC                                                                Case number (if known)
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                        –                                      =   $
                                                                    Total face amount       doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
    CA Tax Return Refund                                                                                   Tax year      2023       $            800
                                                                                                           Tax year                 $
                                                                                                           Tax year                 $

73. Interests in insurance policies or annuities
                                                                                                                                    $

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
                                                                                                                                    $
    Nature of claim
    Amount requested                  $

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
                                                                                                                                    $
    Nature of claim
    Amount requested                  $

76. Trusts, equitable or future interests in property

                                                                                                                                        $
77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
                                                                                                                                    $

                                                                                                                                    $

78. Total of Part 11.
                                                                                                                                    $
    Add lines 71 through 77. Copy the total to line 90
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes
Official Form 206A/B                                      Schedule A/B: Assets — Real and Personal Property                                        page 7
                                             Case 24-12283                       Doc 1            Filed 10/08/24                      Page 18 of 60
Debtor           Innovate Labs LLC                                                                                         Case number (if known)
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                                Current value of                             Current value
                                                                                                       personal property                            of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                    $     151,113.06

81. Deposits and prepayments. Copy line 9, Part 2.                                                        $       6,747.02

82. Accounts receivable. Copy line 12, Part 3.                                                            $      27,785.99

83. Investments. Copy line 17, Part 4.                                                                    $           0.00

84. Inventory. Copy line 23, Part 5.                                                                      $           0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                             $           0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                          $           0.00
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                             $           0.00

88. Real property. Copy line 56, Part 9.......................................................................................... 
                                                                                                                                                $         0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                         $    1,089,831.25

90. All other assets. Copy line 78, Part 11.                                                         + $              800

                                                                                                                                        +
91. Total. Add lines 80 through 90 for each column.............................. 91a.                     $ 1,276,277.32                91b.    $         0.00




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. .................................................................................................     $   1,276,277.32




Official Form 206A/B                                                        Schedule A/B: Assets — Real and Personal Property                                                  page 8
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                                     ADDENDUM A


Line 4.1: The USD associated with the cryptocurrency can vary pursuant to the cryptocurrency
exchange rate

Line 11: Included in the $61,283.05 is cryptocurrency. The USD associated with the
cryptocurrency can vary pursuant to the cryptocurrency exchange rate.
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  Fill in this information to identify the case:

  Debtor name Innovate Labs LLC
  United States Bankruptcy Court for the:                                    District of Delaware
                                                                                         (State)

  Case number (If known):                                                                                                                                   Check if this is an
                                                                                                                                                           amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
  Be as complete and accurate as possible.

 1.   Do any creditors have claims secured by debtor’s property?
         No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.

  Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                 Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
      secured claim, list the creditor separately for each claim.                                                                Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim

2.1   Creditor’s name                                            Describe debtor’s property that is subject to a lien

                                                                                                                                 $                        $
      Creditor’s mailing address


                                                                 Describe the lien

      Creditor’s email address, if known                         Is the creditor an insider or related party?
                                                                      No
                                                                      Yes
      Date debt was incurred                                     Is anyone else liable on this claim?
      Last 4 digits of account                                        No
      number                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H).

      Do multiple creditors have an interest in the              As of the petition filing date, the claim is:
      same property?                                             Check all that apply.
          No                                                         Contingent
          Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                              Disputed




2.2   Creditor’s name                                            Describe debtor’s property that is subject to a lien
                                                                                                                                 $                        $
      Creditor’s mailing address


                                                                 Describe the lien

      Creditor’s email address, if known                         Is the creditor an insider or related party?
                                                                      No
      Date debt was incurred                                          Yes
      Last 4 digits of account                                   Is anyone else liable on this claim?
      number                                                          No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in the
                                                                 As of the petition filing date, the claim is:
      same property?
                                                                 Check all that apply.
          No
                                                                     Contingent
          Yes. Have you already specified the relative
             priority?                                               Unliquidated
             No. Specify each creditor, including this               Disputed
                 creditor, and its relative priority.



               Yes. The relative priority of creditors is
                   specified on lines
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     $
      Page, if any.                                                                                                                                                      page 1 of 1



  Form 206D                               Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property
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                                       Case 24-12283            Doc 1                 Filed 10/08/24   Page 33 of 60
 Fill in this information to identify the case:

 Debtor name Innovate Labs LLC

 United States Bankruptcy Court for the:                                District of   Delaware
                                                                                  (State)
 Case number (If known):



                                                                                                                                           Check if this is an
                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.


 1. Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
    creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
    schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                                 Column 2: Creditor

          Name                         Mailing address                                                   Name                                Check all schedules
                                                                                                                                             that apply:

2.1                                                                                                                                             D
                                       Street                                                                                                 E/F
                                                                                                                                                G

                                       City                     State                       ZIP Code


2.2                                                                                                                                             D
                                       Street                                                                                                 E/F
                                                                                                                                                G

                                       City                     State                       ZIP Code



2.3                                                                                                                                             D
                                       Street                                                                                                 E/F
                                                                                                                                                G

                                       City                     State                       ZIP Code


2.4                                                                                                                                             D
                                       Street                                                                                                 E/F
                                                                                                                                                G

                                       City                     State                       ZIP Code

2.5                                                                                                                                             D
                                       Street                                                                                                 E/F
                                                                                                                                                G

                                       City                     State                       ZIP Code


2.6                                                                                                                                             D
                                       Street                                                                                                 E/F
                                                                                                                                                G

                                       City                     State                       ZIP Code
                                                                                                                                                       page 1 of 1




 Official Form 206H                                         Schedule H: Codebtors
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                        Exhibit 1
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                                                                                        Last 4 digits of                                                    Last balance
    Financial Institution                            Address                                                   Type of Account   Date account was closed
                                                                                           account                                                         before closing

                                 Private Wealth Advisor - CKWM Group, 110 N Wacker
        Merrill Lynch                                                                        6792                Investment             08.16.24                 0
                                          Drive 19th Floor, Chicago, IL 60606


        Bluevine Inc              401 Warren St, Suite 300, Redwood City, CA 94063           1142                 Checking          09.05.24 - Approx            0


        Bluevine Inc              402 Warren St, Suite 300, Redwood City, CA 94063           8302                 Checking          09.05.24 - Approx            0

        Bluevine Inc.             403 Warren St, Suite 300, Redwood City, CA 94063           9832                 Checking          09.05.24 - Approx            0
         Bluevine Inc.            404 Warren St, Suite 300, Redwood City, CA 94063           8706                 Checking          09.05.24 - Approx            0
         Bluevine Inc.            405 Warren St, Suite 300, Redwood City, CA 94063           6274                 Checking          09.05.24 - Approx            0
         Bluevine Inc.            405 Warren St, Suite 300, Redwood City, CA 94063           3422                 Checking          09.05.24 - Approx            0
First Internet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.12.24                 0
First Internet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.12.24                 0
First Internet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.12.24                 0
First Internet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.23.24                 0
First Intetnet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.12.24                 0
First Internet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.23.24                 0
First Interent Bank of Indiana        8701 East 116th Street, Fishers, IN 46038                                   Checking              09.12.24                 0
First Internet Bank of Indiana        8701 East 116th Street, Fishers, IN 46038              9459                 Checking              09.12.24                 0
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                        Exhibit 2
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Name                      Address                        Date of Service (from and to)
                          50 Washington St,
AAFCPAs Inc                                              March 2023 - present
                          Westborough, MA 01581
                          Once California Street,Suite
BPM LLP                   2500, San Francisco, CA        Jan 2022 - Aug 30, 2024
                          94111
Blockchain Tax Partners   51 Pleasant Street #262,
                                                         Feb 2023 - present
[BTP LLC]                 Malden, MA 02148
                          64 Mountain Road, South
Mary Hayes CPA                                           July 2015 - Dec 2023
                          Berwick, ME 03908
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 7

    Innovate Labs LLC,                                            Case No. 24-_____ (__)

                               Debtor.1


                                 VERIFICATION OF CREDITOR MATRIX

             I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby

verify that the attached list of creditors is true and correct to the best of my knowledge.

Date: October 8, 2024
                                                                 /s/ Adam Fisk
                                                                 Adam Fisk
                                                                 Title: Chief Executive Officer




1
             The last four digits of the Debtor’s federal tax identification number are 6857. The Debtor’s mailing 4845
             Pearl East Circle, Suite 118, PBM 318052, Boulder, CO 80301.
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 7

    Innovate Labs LLC,                                            Case No. 24-_____ (__)

                               Debtor.1


                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

             1.      Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that my firm,

Pashman Stein Walder Hayden, PC (“Pashman”) is counsel for the above-captioned debtor (the

“Debtor”) and that compensation paid to Pashman within one year before the filing of the petition

in bankruptcy, or agreed to be paid to Pashman, for services rendered or to be rendered on behalf

of the Debtor in contemplation of or in connection with the bankruptcy case is as follows:

    For legal services, Pashman has agreed to accept                                 $40,000.00

    Prior to the filing of this statement Pashman has received                        $40,000.00

    Balance Due                                                                          $0.00

             2.      The source of the Chapter 7 Payment to Pashman was the Debtor.

             3.      Pashman has not agreed to share the above-captioned disclosed compensation with

any other person unless they are a partner, counsel, or associate of Pashman.

             4.      In return for the above-disclosed fee, Pashman has agreed to pay the filing fees

required to commence this bankruptcy case and has further agreed to render legal services relating

to this bankruptcy case, including:




1
             The last four digits of the Debtor’s federal tax identification number are 6857. The Debtor’s mailing 4845
             Pearl East Circle, Suite 118, PBM 318052, Boulder, CO 80301.

                                                            1
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              a.       Analysis of the Debtor’s financial situation, and rendering advice to the

              Debtor in determining whether to file the bankruptcy petition;

              b.       Preparation and filing of the voluntary petition in bankruptcy and certain

              other documents that may be required; and

              c.       Representation of the Debtor at the meeting of creditors, and any adjourned

              hearing thereof.

                                       CERTIFICATION

       I hereby certify that the foregoing is a complete statement of any agreement or agreement

for payment to Pashman for representation of the Debtor in this bankruptcy proceeding.

 Dated: October 8, 2024                  PASHMAN STEIN WALDER HAYDEN, P.C.
        Wilmington, Delaware
                                         /s/ Joseph C. Barsalona II
                                         Joseph C. Barsalona II (No. 6102)
                                         Alexis R. Gambale (No. 7150)
                                         824 N. Market Street, Suite 800
                                         Wilmington, DE 19801
                                         Telephone: (302) 592-6496
                                         Email: jbarsalona@pashmanstein.com
                                                 agambale@pashmanstein.com

                                         Counsel to the Debtor




                                                2
